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BMC Group
   WR GRACE
    Monthly Invoice
July 2008 -- Asbestos Claims
                                        Hourly                            Total
Name                  Type               Rate       Date      Hours      Amount Description
MARTHA ARAKI - CONTRACTOR             $210.00     7/2/2008       1.      $357.00 Analysis of orders 18847 and 18848 re settlement
                                                                                   agreements (1.0); analysis of prior orders affecting
                                                                                   USA EPA related claims (.7)
MARTHA ARAKI - CONTRACTOR             $210.00     712/2008       0.8     $168.00 Analysis of balance of June docket re pleadings
                                                                                 affecting claims for SEC reporting
MARTHA ARAKI - CONTRACTOR             $210.00     7/3/2008       1.4     $294.00   Prepare chart of properties and settlements from
                                                                                   claim 9634 vs orders 18571, 18847 and 18848
MARTHA ARAKI - CONTRACTOR             $210.00     7/3/2008       1.5     $315.00   Continue analysis of order 18848 re impact on claim
                                                                                   9635 (.6); review claim 9634 re sites on POC vs sites
                                                                                   on Order 18847 (.9)
MARTHA ARAKI - CONTRACTOR             $210.00     7/4/2008       2.0     $420.00 Analysis of new lists from K&E re potential ZAI
                                                                                   claimants for BDN (1.0); update ZAI BDN service list
                                                                                   (1.0)
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/16/2008      0.3       $42.00   Calls with F Rogers at RR Donnelley re printing ZAI
                                                                                   forms for Rust
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/16/2008      0.2       $28.00   Calls with J Miller re printing options suggested by RR
                                                                                   Donnelley for ZAI notices for Rust Consulting
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/16/2008      0.1       $14.00   Review email from J Miller re service of ZAI bar date
                                                                                   notice
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/17/2008      0.4       $56.00   Calls (.2) / emails (.2) with RR Donnelley re ZAI
                                                                                   printing and approving proof
MARTHA ARAKI - CONTRACTOR             $210.00    7/21/2008      0.7      $147.00 Telephone from D Bibbs re status of claims 10709,
                                                                                   10926 and 11216 (.1); analysis of b-Linx re claims
                                                                                   status (.2); analysis of docket re orders expunging or
                                                                                   withdrawing claims (.2); prepare e-mail to D Bibbs re
                                                                                   copies of orders expunging claims (.2)
STEFFANIE COHEN - REC_ TEAM           $110.00    7/22/2008      0.4       $44.00   Generate ZAI claim report (.2); prepare claim images
                                                                                   per J.Miler request (.1); draft follow-up memo to
                                                                                   J.Miler re analysis results (.1)
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/22/2008      0.2       $28.00 Call with RR Donnelley to confirm shipment of 8000
                                                                                   ZAI notices to Rust Consulting (.1); email to J Miller re
                                                                                   same (.1)
JEFF MILLER - INACTIVE_BMC            $210.00    7/2512008      1.2      $252.00 Address PD claim report request from L. Esayian
STEFFANIE COHEN - REC TEAM            $110.00    7/25/2008      0.4       $44.00   Initialize preparation and analysis of asbestos-pd claim
                                                                                   report per c.Greco request (.3); draft follow-up
                                                                                   memo to G.Kruse re reporting requirements (.1)
MARTHA ARAKI - CONTRACTOR             $210.00    7128/2008      0.7      $147.00 Analysis of active open PD export from S Cohen per C
                                                                                   Gruins request (.3); analysis of original request from L
                                                                                   Esayian (.1); prepare e-mail to S Cohen re revisions to
                                                                                   export to better address L Esayian's intent and
                                                                                   revision to amounts (.3)
MARTHA ARAKI - CONTRACTOR             $210.00    7/28/2008      0.3       $63.00 Analysis of e-mail from S Cohen re revising asbestos
                                                                                   pd claim amounts to Unliquidated Unknown to allow
                                                                                   export of amount field (.1); prepare e-mail to S
                                                                                   Cohen re approval to revise (.1); analysis of e-mail
                                                                                   from J Miller re revision (.1)
STEFFANIE COHEN - REC TEAM            $110.00    7/28/2008      0.3       $33.00 Analyze prelimary active open Asbestos-PD claim
                                                                                   reports generated by data consultant (.2); draft follow-
                                                                                   up memos to J.Miller, M.Araki, G.Kruse re additional
                                                                                   analysis & claim updates required (.1)
JEFF MILLER - INACTIVE_BMC            $210.00    7129/2008      1.       $273.00 Audit PD claim report requested by C. Greco and
                                                                                   prepared by S. Cohen



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BMC Group
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July 2008 -- Asbestos Claims
                                        Hourly                              Total
Name                  Type               Rate       Date      Hours        Amount Description
MARTHA ARAKI - CONTRACTOR             $210.00    7/29/2008       0.6      $126.00 Analysis of e-mail from D Bibbs re 3 claims and status
                                                                                  from Omni 15 (.1); analysis of 3 claims and status in
                                                                                     b-Linx (.3); prepare e-mail to D Bibbs re 3 claims and
                                                                                     status (.2)
STEFFANIE COHEN - REr- TEAM           $110.00    7/2912008       0.1        $11.00   Analyze revised active open Asbestos-PD claim reports
                                                                                     generated by data consultant; draft follow-up memo
                                                                                     to G.Kruse re additional analysis & claim updates
                                                                                     required
MARTHA ARAKI - CONTRACTOR             $210.00    7/30/2008       0.3       $63 00    Analysis of S Cohen e-mail re revised asbestos pd
                                                                                     export requested by L Esayian and C Bruins (.2);
                                                                                     prepare e-mail to S Cohen re export review (.1)
STEFFANIE COHEN - REC_ TEAM           $110.00    7/3012008      0.3        $33.00 Analize final active open Asbestos-PD claim report
                                                                                     generated by data consultant (.2); draft follow-up
                                                                                     memos to L.Esayian, c.Greco, M.Lewinstein, J.Miler,
                                                                                     M.Araki re analysis results (.1)
STEFFANIE COHEN - REr-TEAM            $110.00    7/30/2008      0.4        $44.00 Continue analysis of revised active open Asbestos-PD
                                                                                  claim report generated by data consultant (.3);
                                                                                  discussion with G.Kruse re additional reporting
                                                                                     requirements (.1)

                                   Asbestos Claims Total:      15.6      $3,002.00
July 2008 -- Case Administration
                                        Hourly                             Total
Name                  Type               Rate       Date     Hours        Amount Description
LEILA HUGHES - REr- TEAM               $75.00     7/1/2008      0.1         $7.50    Review Court docket Nos. 19014-19024, to categorize
                                                                                     docket entries,
LEILA HUGHES - REr-TEAM                $75.00     7/1/2008      0.2        $15.00    Post new docket entries to DRTT.
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00     7/1/2008      0.1        $14.00    Review case status information and update from J
                                                                                     Miler
LEILA HUGHES - REC_TEAM                $75.00     7/2/2008      0.2        $15.00    Post new docket entries to DRTT.
LEILA HUGHES - REr- TEAM               $75.00    7/2/2008       0.1         $7.50    Review Court docket Nos. 19025-19035, to categorize
                                                                                     docket entries.
LEILA HUGHES - REr- TEAM               $75.00    7/3/2008       0.2        $15.00    Post new docket entries to DRTT.
LEILA HUGHES - REr- TEAM               $75.00    7/3/2008       0.1         $7.50    Review Court docket Nos. 19036-19041, to categorize
                                                                                     docket entries.
MARTHA ARAKI - CONTRACTOR             $210.00    7/3/2008       0.3        $63.00 Telephone with J Miller re 2nd Qtr SEC reporting (.1);
                                                                                     prepare e-mail to J Miler re expungement of claim
                                                                                     9635 upon payment of Libby $250M settlement (.1);
                                                                                     analysis of 2nd Qtr SEC report from J Miler (.1)
LEILA HUGHES - REr- TEAM               $75.00    7/7/2008       0.2        $15.00    Post new docket entries to DRTT.
LEILA HUGHES - REr- TEAM               $75.00    7/7/008        0.1         $7.50    Review Court docket Nos. 19042-19052, to categorize
                                                                                     docket entries.
ELLEN DORS - REr- TEAM                $110.00    718/2008       0.1        $11.00    Review and reply to e-mails and correspondence re
                                                                                     status call from M Booth
LEILA HUGHES - REr- TEAM               $75.00    7/8/2008       0.1         $7.50    Review Court docket Nos. 19053-19058, to categorize
                                                                                     docket entries.
LEILA HUGHES - REr-TEAM                $75.00    7/812008       0.2        $15.00    Post new docket entries to DRTT.
MIKE BOOTH - MANAGER                  $165.00    718/2008       0.3        $49.50    Discussion with S Cohen re new and pending claim
                                                                                     reconciliation issues requiring higher-level analysis
                                                                                     outside normal scope of review




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BMC Group
      WR GRACE
      Monthly Invoice
July 2008 -- Case Administration
                                     Hourly                            Total
Name                    Type          Rate       Date      Hours      Amount Description
STEFFANIE COHEN - REC_ TEAM        $110.00     7lS/200S       0.3      $33.00   Discussion with M.Booth re new & pending claim
                                                                                reconciliation issues requiring higher-level analysis
                                                                                outside normal scope of review
ELLEN DORS - REC TEAM              $110.00     7/9/200S       0.1      $11.00   Review and reply to e-mails and correspondence re:
                                                                                claim updates to 669 and 17767 from M Booth & S
                                                                                Cohen
LEILA HUGHES - REC_TEAM             $75.00     7/9/200S       0.2      $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC TEAM             $75.00     7/9/200S       0.1       $7.50   Review Court docket Nos. 19059- 19060, to categorize
                                                                                docket entries.
MARTHA ARAKI - CONTRACTOR          $210.00     7/9/200S       0.5     $105.00   E-mails from/to J Miller re ZAI bar date notice cost
                                                                                estimate (.3); e-mail to/from Y Knopp re ZAI bar date
                                                                                notice cost estimate (.2)
NOREVE ROA - CAS                    $95.00     7/9/200S       3.0     $2S5.00   Audit categorization updates related to Court docket
                                                                                Nos.1S713-19009 (147 items)
YVETE KNOPP - CAS                   $90.00     7/9/200S       0.4      $36.00   Prepare Production Estimate for Proof of Claim & Att
                                                                                Info Sheet mailing per M Araki request
LEILA HUGHES - REC_TEAM             $75.00    7l10l200S       0.1       $7.50   Review Court docket Nos. 19061-19065, to categorize
                                                                                docket entries.
LEILA HUGHES - REC_TEAM             $75.00    7l10/200S      0.2       $15.00   Post new docket entries to DRTT.
LEMUEL JUMILLA - CAS                $95.00    7l10/200S      0.2       $19.00 Audit categorization updates related to Court docket
                                                                              Nos. 19010 to 19060
STEFFANIE COHEN - REC_TEAM         $110.00    7/10/200S      0.2       $22.00   Review (.1) and reply (.1) to emails and
                                                                                correspondence re claims review/reconciliation
LEILA HUGHES - RECTEAM              $75.00    7/11/200S      0.2       $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC TEAM             $75.00    7l11/200S      0.1        $7.50   Review Court docket Nos. 19066-19072, to categorize
                                                                                docket entries.
MARTHA ARAKI - CONTRACTOR          $210.00    7/11/200S      0.2       $42.00 Telephone from A Hammond re non-asbestos claims
                                                                                info
MARISTAR GO - CAS                   $95.00    7l13/200S      O.S       $76.00   Audit categorization updates related to Court docket
                                                                                Nos. 19014-19056 - 26 items
NOR   EVE ROA - CAS                 $95.00    7/13/200S      O.S       $76.00 Audit categorization updates related to Court docket
                                                                                Nos.1S792-93, lSS07, lSS16, lSS95, lSS97, lS911,
                                                                                lS930, lS934, lS962, lS970, lS9S9, 19012, 19023-
                                                                                24, 19036, 19042-43, 19050, 1905S-59, 19069

CORAON DEL PILAR - CAS              $45.00    7l14/200S      0.2        $9.00   Process 1 piece Non-COA returned mail for archiving
ELLEN DORS - REC TEAM              $110.00    7/14/200S      0.7       $77.00   Review email from S Cohen re Withdrawal of claims
                                                                                (.1); create void sheets to be appended to claims
                                                                                lS4S0, lS495, lS49S & lS505 and convert void
                                                                                sheets into TIF images (.2); append new images to
                                                                                claims within database per S Cohen request (.2);
                                                                                update claims database as necessary (.2)
JEFF MILLER - INACTIVE_BMC         $210.00    7l14/200S      3.0      $630.00   Coordinate preparation for service of ZAI bar date
                                                                                notice packages
LEILA HUGHES - REC_TEAM             $75.00    7/14/200S      0.2       $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC_ TEAM            $75.00    7/14/200S      0.1        $7.50   Review Court docket Nos. 19073-19076, to categorize
                                                                                docket entries.
LEMUEL JUMILLA - CAS                $95.00    7l14/00S       0.2       $19.00   Audit categorization updates related to Court docket
                                                                                Nos. 19062 to 19071

MARTHA ARAKI - CONTRACTOR          $210.00    7/14/200S      0.5      $105.00   Analysis of ZAI related e-mails (.3); analysis of e-mails
                                                                                re A Hammond request (.2)


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   WR GRACE
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July 2008 -- Case Administration
                                        Hourly                            Total
Name                  Type               Rate       Date      Hours      Amount Description
MYRTLE JOHN - MANAGER                 $195.00    7/14/2008       0.1      $19.50   Memo from and to M Araki re address research and
                                                                                   verification
ANNA WICK - SR_ANAL YST               $110.00    7/15/2008       0.5      $55.00 Group conference call, status at request of J Miller
BRIANNA TATE - CAS                     $45.00    711512008       2.0      $90.00   Called parties in WR Grace who have contacted K&E
                                                                                   with inquiries about ZAI claims to obtain addresses for
                                                                                   the bar date notice mailing.
GUNTHER KRUSE - CONSULT_DATA          $150.00    7/15/2008      0.5       $75.00   Conference call with project team re case status and
                                                                                   Solicitation timelines.
LEILA HUGHES - RECTEAM                 $75.00    7/15/2008      0.1        $7.50   Review Court docket Nos. 19077-19092, tò categorize
                                                                                   docket entries.
LEILA HUGHES - RECTEAM                 $75.00    7/15/2008      0.2       $15.00   Post new docket entries to DRTT.
MARTHA ARAKI - CONTRACTOR             $210.00    7/15/2008       1.0     $210.00 Telephone with J Miller re ZAI bar date notice prep
                                                                                   (.3); prepare e-mail to Case Support re ZAI project for
                                                                                   addresses for phone numbers only from K&E list (.2);
                                                                                   analysis of list of phone numbers only from K&E for
                                                                                   Case Support project (.5)
MIKE BOOTH - MANAGER                  $165.00    7/15/2008      0.2       $33.00   Discussion with S Cohen re claim reconciliation issues
                                                                                   requiring higher-level analysis outside normal scope of
                                                                                   review
STEFFANIE COHEN - RECTEAM             $110.00    7/15/2008      0.2       $22.00   Discussion with M.Booth re claim reconciliation issues
                                                                                   requiring higher-level analysis outside normal scope of
                                                                                   review
STEFFANIE COHEN - REC TEAM            $110.00    7/15/2008      0.5       $55.00   Status call led by J. Miller re pending issues

STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/15/2008      0.5       $70.00 Weekly team status call
BRIANNA TATE - CAS                     $45.00    7/16/2008      0.5       $22.50   Called parties in WR Grace who have contacted K&E
                                                                                   with inquiries about ZAI claims to obtain addresses for
                                                                                   the bar date notice mailng.
JEFF MILLER - INACIVE_BMC             $210.00    7/16/2008      2.5      $525.00   Coordinate print packages and mailing lists related to
                                                                                   the ZAI bar date notice

LAURI BOGUE - RECTEAM                 $110.00    7/16/2008      0.3       $33.00 Analyze Court docket no 19092 and exclude
                                                                                   appropriate part in the noticing system

LEILA HUGHES - RECTEAM                 $75.00    7116/2008      0.2       $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC_ TEAM               $75.00    7/16/2008      0.1        $7.50   Review Court docket Nos. 19093-19095, to categorize
                                                                                   docket entries.
MARTHA ARAKI - CONTRACTOR             $210.00    7/16/2008      0.8      $168.00 Telephone with J Miler re ZAI service (.4); telephone
                                                                                   with J Miller re D Boll -mail (.2); prepare e-mail to J
                                                                                   Conklin re break-out of combined database created
                                                                                   into separate lists per D Boll request (.2)
MARTHA ARAKI - CONTRACTOR             $210.00    7/16/2008      1.6      $336.00   Analysis of ZAI e-mails and attachments re service
                                                                                   database info (.8); analysis of ZAI service list (.6);
                                                                                   analysis of e-mails from J Conklin re ZAI bar date
                                                                                   service database revision (.2)
MARTHA ARAKI - CONTRACTOR             $210.00    711612008      3.0      $630.00 Analysis of draft service lists segregated per D Boll
                                                                                   request (1.3); revise ZAI service database re attorney
                                                                                   vs individual notices (1. 7)
PATRICK CLELAND - VDR                  $65.00    7/16/2008      0.5       $32.50   Prepare DVD with burn of claims data room per K&E
                                                                                   request
ALEX CEDENO - CAS                      $45.00    7/17/2008      0.8       $36.00   Prepare DVD of claims images per J Miller request
JAMES MYERS - CAS                      $65.00    7/17/2008      0.2       $13.00   BDN/POC: email exchange w/ S Kjontvedt providing
                                                                                   revised service docs; scrub provided docs



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BMC Group
   WR GRACE
    Monthly Invoice
July 2008 -- Case Administration
                                        Hourly                            Total
Name                  Type               Rate       Date     Hours       Amount Description
JAMES MYERS - CAS                      $65.00    7/17/2008      0.2       $13.00   BDN/POC: Review (.1) & respond (.1) to emails
                                                                                   transmitting 1. Noticing Instructions 2.
                                                                                   Request/response re approval Service Doc &
                                                                                   Production Instructions
JAMES MYERS - CAS                      $65.00    7/1712008      0.1        $6.50   BDN/POC: 2nd email exchange w/ M Araki & J Conklin
                                                                                   providing addl APs; prep addl AP MF & associate w/
                                                                                   doc
JAMES MYERS - CAS                      $65.00    7/17/2008      0.3       $19.50   BDNIPOC: Set up Noticing System/Production
                                                                                   Folder/Noticing Instructions (.1); prep electronic
                                                                                   version of doc-as-servedlplace copy of service doc in
                                                                                   Call Center folder (.1); review Production copy of
                                                                                   document (.1)
JAMES MYERS - CAS                      $65.00    7/17/2008      0.1        $6.50   BDN/POC: email exchange w/ M Araki & J Conklin
                                                                                   providing addl APs; prep addl AP MF & associate w/
                                                                                   doc
JAMES MYERS - CAS                      $65.00    7/17/2008      0.2       $13.00   BDN/POC: prep draft of DcI of Svc (.1); prep email
                                                                                   transmitting same to M Araki/J Miller for review (.1)
JEFF MILLER - INACTVE_BMC             $210.00    7/1712008      2.0      $420.00   Discussions w/ D. Boll and E. Hudgens regarding prep
                                                                                   of ZAI claim packages for Rust Consulting
JEFF MILLER - INACTIVE_BMC            $210.00    7/17/2008      1.5      $315.00   Review mail files (.7) and coordinate service (.8) of
                                                                                   ZAI bar date notice and claim forms
LEILA HUGHES - REC TEAM                $75.00    7/17/2008      0.1        $7.50   Review Court docket No. 19096, to categorize docket
                                                                                   entries.
LEILA HUGHES - REC TEAM                $75.00    7/17/2008      0.2       $15.00   Post new docket entries to DRTT.
MARTHA ARAKI - CONTRACTOR             $210.00    7/17/2008      3.1      $651.00 Telephone with J Miler re ZAI bar date service (.4);
                                                                                 analysis of bar date service lists (.7); review and
                                                                                   approve service documents (.4); review/revise
                                                                                   attorney service list per D Boll/J Baer request (.5);
                                                                                   analysis of e-mails re new parties (.2); review ZAI bar
                                                                                   date list re ANPs attached to claims (.3); e-mails to J
                                                                                   Conklin re addition of ANPs to bar date service list
                                                                                   (.2); analysis of additional service list re ANPs and
                                                                                   other new counsel requested by J BaerlD Boll (.4)
STEFFANIE COHEN - REC TEAM            $110.00    7/17/2008      0.4       $44.00   Prepare (.1) and analyze (.2) monthly report; draft
                                                                                   follow-up memos to K.Davis at Rust Consulting (.1)
STEPHENIE KlONTVEDT - SR_CONSULTANT   $140.00    7/17/2008      0.2       $28.00   Pull copies of ZAI documents from docket (.1) and
                                                                                   review (.1)
STEPHENIE KlONTVEDT - SR_CONSULTANT   $140.00    7/1712008      0.2       $28.00 Email to RR Donnelley with document for printing and
                                                                                 instructions re same
STEPHENIE KlONTVEDT - SR_CONSULTANT   $140.00    7/1712008      0.7       $98.00   Review ZAI documents (.4); prepare documents for
                                                                                   printing (.3)
STEPHENIE KlONTVEDT - SR_CONSULTANT   $140.00    7/17/2008      0.1       $14.00   Email to notice group re replacement document for
                                                                                   printing
YVETE KNOPP - CAS                      $90.00    7117/2008      0.2       $18.00   Coordinate service of Bar Date Notice and Proof of
                                                                                   Claim form to Attorneys

YVETE KNOPP - CAS                      $90.00    7/17/2008      0.2       $18.00   Coordinate service of Bar Date Notice and Proof of
                                                                                   Claim form to individuals
YVETE KNOPP - CAS                      $90.00    7/17/2008      0.4       $36.00   Per M Araki request, revise (.3) and forward (.1)
                                                                                   POClBar Date Notice Production Job Estimate to
                                                                                   include current parties counts
LAURI BOGUE - RECTEAM                 $110.00    7/18/2008      0.1       $11.00 Analyze Court docket no 19100 and verify no updates
                                                                                   to the noticing system are required



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BMC Group
   WR GRACE
    Monthly Invoice
July 2008 -- Case Administration
                                        Hourly                            Total
Name                    Type             Rate       Date      Hours      Amount Description
LEILA HUGHES - RECTEAM                 $75.00    7/18/2008      0.1        $7.50   Review Court docket Nos. 19097-19102, to categorize
                                                                                   docket entries.
LEILA HUGHES - REC_TEAM                $75.00    7/18/2008      0.2       $15.00   Post new docket entries to DRTT.
YVETE KNOPP - CAS                      $90.00    7/18/2008      0.2       $18.00   Preparation of invoice for Bar Date Notice and Proof of
                                                                                   Claim form to individuals served on 7- 17-08
YVETE KNOPP - CAS                      $90.00    7118/2008      0.2       $18.00   Preparation of invoice for Bar Date Notice and Proof of
                                                                                   Claim form to Attorneys served on 7-17-08
MYRTLE JOHN - MANAGER                 $195.00    7/20/2008      0.1       $19.50   Read and respond to memo from L Bouge re
                                                                                   appropriate procedure for updating creditor infor and
                                                                                   re-serving transfer notice to original creditor
LAURI BOGUE - REC TEAM                $110.00    7/21/2008      0.1       $11.00 Analyze Court docket no 19106 and verify no updates
                                                                                   to the noticing system are required
LEILA HUGHES - RECTEAM                 $75.00    7121/2008      0.1        $7.S0   Review Court docket Nos. 19103-19109, to categorize
                                                                                   docket entries.
LEILA HUGHES - RECTEAM                 $75.00    7/21/2008      0.2       $15.00   Post new docket entries to DRTT.
STEFFANIE COHEN - REC TEAM            $110.00    7121/2008      0.2       $22.00   Review (.1) and reply (.1) to emails and
                                                                                   correspondence re claims review/reconciliation
YVETE KNOPP - CAS                      $90.00    7/21/2008      0.3       $27.00   Review production reporting re invoice 021-20080717-
                                                                                   1

GUNTHER KRUSE - CONSULT_DATA          $150.00    7/22/2008      0.4       $60.00 Conf call with project team to review case status and
                                                                                 timelines.
JAMES MYERS - CAS                      $65.00    7/22/2008      0.2       $13.00   BDN/POC: final reView/revision of DcI of Svc
JEFF MILLER - INACTIVE_BMC            $210.00    7/2212008      2.0      $420.00   Audit service mailfiles and documents related to ZAI
                                                                                   bar date notice packages to ensure all parties noticed
                                                                                   as requested by counsel

JEFF MILLER - INACTIVE_BMC            $210.00    7/22/2008      0.5      $105.00   Prepare for (.2) and lead (.3) team status call
                                                                                   regarding Non-asbestos, pd and ZAI claims

LAURI BOGUE - REC_TEAM                $110.00    7/22/2008      0.1       $11.00 Analyze Court docket no 19117 and verify no updates
                                                                                   to the noticing system are required
LEILA HUGHES - REC_TEAM                $75.00    7/22/2008      0.2       $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC TEAM                $75.00    7/22/2008      0.1        $7.50   Review Court docket Nos. 19110-19121, to categorize
                                                                                   docket entries.
LEMUEL JUMILLA - CAS                   $95.00    7122/2008      0.2       $19.00   Audit categorization updates related to Court docket
                                                                                   Nos. 18179 and 19076 to 19094

STEFFANIE COHEN - REC_ TEAM           $110.00    7/22/2008      0.7       $77.00 Analyze docket numbers 18847 to 19111 (.1); audit
                                                                                 claim updates (.2); update claim database (.3); draft
                                                                                 follow-up memo to M.Araki re additional analysis and
                                                                                   possible claim updates required (.1)
STEFFANIE COHEN - REC_ TEAM           $110.00    7/2212008      0.3       $33.00   Status call   led by J.Miller re pending issues
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/22/2008      0.4       $56.00   Weekly team status call
CORAON DEL PILAR - CAS                 $45.00    7/23/2008      0.2        $9.00   Process 2 pieces Non-COA returned mail for archiving
LEILA HUGHES - REC_TEAM                $75.00    7/23/2008      0.2       $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC TEAM                $75.00    7123/2008      0.1        $7.50   Review Court docket Nos. 19122- 19138, to categorize
                                                                                   docket entries.
LILIANA ANZALDO - CAS                  $45.00    7/2312008      0.2        $9.00   Analysis of correspondence received (.1); prepare
                                                                                   memos to case consultants re correspondence (.1)
ELLEN DORS - REC_TEAM                 $110.00    7/2412008      0.1       $11.00 Analyze recent docket activity number 19111 and
                                                                                   related docket entries; audit claims database re: same
JAMES MYERS - CAS                      $65.00    7/24/2008      0.2       $13.00   BDN/POC: proofread DcI of Svc

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Name                  Type               Rate       Date      Hours      Amount Description
JAME5 MYER5 - CA5                      $65.00    7/2412008       0.2      $13.00   BDNlpOC: notarize DcI of 5vc (.1); prep
                                                                                   emailltransmittalletter transmitting same to counsel
                                                                                   for filing (.1)
LEILA HUGHE5 - RECTEAM                 $75.00    7/24/2008       0.2      $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC_ TEAM               $75.00    7/24/2008       0.1       $7.50   Review Court docket Nos. 19139-19143, to categorize
                                                                                   docket entries.
MARTHA ARAKI - CONTRACTOR             $210.00    7/24/2008       0.4      $84.00 Conference call with D Boll, J Miler and Rust
                                                                                   Consulting re data specs for ZAI bar date claims
                                                                                   docketing
BRIANNA TATE - CAS                     $45.00    7/25/2008       0.1       $4.50   Telephone with Kimberly Ashford of Petro Link
                                                                                   International LLC at (281) 363-3534 re status of their
                                                                                   claim.
LEILA HUGHES - REC_TEAM                $75.00    7/25/2008      0.2       $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC_TEAM                $75.00    7/2512008      0.1        $7.50   Review Court docket Nos. 19144-19155, to categorize
                                                                                   docket entries.
MARTHA ARAKI - CONTRACTOR             $210.00    7/25/2008       1.2     $252.00 Analysis of draft numbers from S Fritz for Jun 08 (.3);
                                                                                 review Jun 08 consultant time for reductions (.7);
                                                                                   prepare memo to S Fritz re revised Jun 08 number
                                                                                   after reductions (.2)
STEFFANIE COHEN - REC_ TEAM           $110.00    7/25/2008      0.2       $22.00   Review (.1) and reply (.1) to emails and
                                                                                   correspondence re claims review/reconciliation
BRIANNA TATE - CAS                     $45.00    7/28/2008      0.1        $4.50 Telephone with John Walters at (205) 758-6223 re
                                                                                   reinstatement of claim
LEILA HUGHES - RECTEAM                 $75.00    7/28/2008      0.2       $15.00   Post new docket entries to DRTT.
LEILA HUGHES - REC_ TEAM               $75.00    7128/2008      0.1        $7.50   Review Court docket Nos. 19156-19162, to categorize
                                                                                   docket entries.
LUCINA SOLIS - CAS                     $45.00    7/28/2008      0.1        $4.50   Process COA returned mail
MARTHA ARAKI - CONTRACTOR             $210.00    7/28/2008      1.2      $252.00 Analysis of docket re pleadings filed affecting claims
GUNTHER KRUSE - CONSULT_DATA          $150.00    7/29/2008      0.3       $45.00 Conf call with project team to review case status and
                                                                                 timelines.
LEILA HUGHE5 - REC_ TEAM               $75.00    7/29/2008      0.1        $7.50   Review Court docket Nos. 19163-19181, to categorize
                                                                                   docket entries.
LEILA HUGHES - RECTEAM                 $75.00    7/29/2008      0.2       $15.00   Post new docket entries to DRTT.
LUCINA SOLIS - CAS                     $45.00    712912008      0.1        $4.50   Process COA returned mail
MARTHA ARAKI - CONTRACTOR             $210.00    7129/2008      1.8      $378.00 Audit pleadings assigned in DRTT and b-Linx re
                                                                                 revisions made to claims per pleadings (1.0); revise b-
                                                                                   Linx re audit results (.8)
STEFFANIE COHEN - REC TEAM            $110.00    7/29/2008      0.2       $22.00   Status call   led by J.Miler re pending issues
STEPHENIE KJONTVEDT - SR_CONSULTANT   $140.00    7/29/2008      0.1       $14.00   Weekly team status call
JAMES MYERS - CAS                      $65.00    7/30/2008      0.2       $1300 Ntc Claim Transfer: multiple email exchange w/ M
                                                                                   Booth transmitting docs for service (.1); prepare
                                                                                   documents for service (.1)
LEILA HUGHES - REC_ TEAM               $75.00    7130/2008      0.1        $7.50   Review Court docket Nos. 19182-19193, to categorize
                                                                                   docket entries.
LEILA HUGHES - RECTEAM                 $75.00    7/30/2008      0.2       $15.00   Post new docket entries to DRTT.
MIKE BOOTH - MANAGER                  $165.00    7/30/2008      0.8      $132.00   Prepare Declarations of Services for 20 day notices
                                                                                   related to docket nos 19176, 19177, 19178 and
                                                                                   19179 (.7); forward to Notice Group for service (.1)
NOREVE ROA - CAS                       $95.00    7/3012008      0.8       $76.00 Audit categorization updates related to Court Docket
                                                                                   Nos.19156-19193 (33 items)
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Name                  Type                  Rate        Date     Hours        Amount Description
NOREVE ROA - CAS                           $95.00   7/3012008       1.       $104.50    Audit categorization updates related to Court Docket
                                                                                        Nos.17907-19155 (62 items)
TERRI MARSHALL - MANAGER                 $185.00    7130/2008       0.4        $74.00   Review (.2) and notarize (.2) four Declarations of
                                                                                        Service of claims transfer

KATYA BELAS - CAS                          $65.00   7/31/2008       0.4        $26.00   File Notices of Transfer with Court via ecf per M Booth
                                                                                        request
KATYA BELAS - CAS                          $65.00   7131/2008       0.9        $58.50   Prepare service lists for notices of transfer received
                                                                                        from M Booth (.5); e-mails to/from M Booth re service
                                                                                        of notices of transfer (.2); review MRF and production
                                                                                        sheets for service (.2)
LUCINA SOLIS - CAS                        $45.00    7/31/2008       0.1         $4.50   Process COA returned mail
MARTHA ARAKI - CONTRACTOR                $210.00    7/3112008       1.0      $210.00    Analysis of e-mail from J Miller re J Baer inquiry re
                                                                                        Rust Consulting offcial claims register and related
                                                                                        issues (.2); prepare e-mail to S Cohen and J Conklin
                                                                                        re data files sent to Rust with updates to claims status
                                                                                        (.1); analysis of e-mail from S Cohen re last e-mail
                                                                                        sent to Rust with claim status update data (.2);
                                                                                        analysis of emails from J Conklin re Rust data uploads
                                                                                        (.2); prepare e-mail to J Miller re BMC provides Rust
                                                                                        with claim status updates, suggestions on correcting
                                                                                        claims register in prep for J Baer conf call (.3)
STEFFANIE COHEN - REC_ TEAM              $110.00    7/31/2008      0.1        $11.00    Review emails and correspondence re claims
                                                                                        reconciliation/objection management

                                   Case Administration Total:     62.3      $9,081.00
July 2008 -- Data Analysis
                                           Hourly                             Total
Name                  Type                   Rate       Date    Hours        Amount Description
ANNA WICK - SR_ANAL YST                  $110.00     711/2008      0.1        $11.00    Review weblog data including page count, convert
                                                                                        data to database
ANNA WICK - SR_ANALYST                   $110.00     7/8/2008      0.1        $11.00    Add order (12260) entry to claim 156 in b-Linx at
                                                                                        request of S Cohen
JACQUELINE CONKLIN - SR_ANALYST           $95.00     719/2008      2.3       $218.50    Review (.8), convert (.9) and upload (.6) various
                                                                                        documents in regards to ZAI claimant's per M Araki
                                                                                        request.
JACQUELINE CONKLIN - SR_ANALYST           $95.00     7/912008      0.2        $19.00    Various correspondence regarding the upload of
                                                                                        documents for ZAI claimant's.
SONJA MILLSAP - CONSULT_DATA              $95.00     71912008      3.0       $285.00    Review (.9), convert (1.1) and upload (1.0) various
                                                                                        documents in regards to ZAI claimant's per M Araki
                                                                                        request.
ANNA WICK - SR_ANAL YST                  $110.00    7/1012008      0.2        $22.00 Confer with S Cohen on reporting by filtered list
JACQUELINE CONKLIN - SR_ANAL YST          $95.00    7/10/2008      0.2        $19.00    Various correspondence regarding the conversion and
                                                                                        formatting of ZAI documents.
SONJA MILLSAP - CONSULT_DATA              $95.00    7110/2008      0.4        $38.00    Review mailing list for complete addresses in
                                                                                        reference to ZAI claimant's per M Araki request.

GUNTHER KRUSE - CONSULT_DATA             $150.00    7/1412008      1.0       $150.00    Research (.5) and create (.5) extract of Non-Asbestos
                                                                                        claims that are supplements.
GUNTHER KRUSE - CONSULT_DATA             $150.00    7/14/2008      1.5       $225.00    Create extract of all current and former employee
                                                                                        claims (.5); match back to source data to retreive SS
                                                                                        # where available (.4); export to Excel (.4); forward
                                                                                        to J Miler for review (.2)
JACQUELINE CONKLIN - SR_ANALYST           $95.00    7/14/2008      0.1         $9.50    Reformat bankruptcy claims modified record data fies
                                                                                        in preparation to migrate to b-Linx.

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                                     Hourly                             Total
Name                  Type            Rate       Date      Hours       Amount Description
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/14/2008      0.1         $9.50 Append bankruptcy claim data to tblOutput for
                                                                                 migration to b-Linx.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/14/2008      0.1         $9.50   Migration of bankruptcy claim data to b-Linx.
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/14/2008      0.1         $9.S0   Upload bankruptcy claim to b-Linx.
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7114/2008      0.1         $9.50   Migrate bankruptcy claims image from CD to server.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/14/2008      0.1         $9.50   Prepare and forward claims register for bankruptcy
                                                                                 claims upload to project team.
JACQUELINE CONKLIN - SR_ANAL YST    $9S.00    7/14/2008      0.1         $9.50   Extract, process, reformat bankruptcy data to migrate
                                                                                 data to b-Linx.

GUNTHER KRUSE - CONSULT_DATA       $150.00    7/15/2008      0.6        $90.00 Create extract of selected claims requested by J Baer
                                                                               (.2); export to Excel (.3); forward to S Cohen for
                                                                               review (.1)
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/15/2008       1.3      $195.00   Prep image folder for employee claims (.5); setup
                                                                                 claims copy utility (.4); transfer all Employee claims to
                                                                                 image folder (.3); prep for burn to DVD (.1).
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/15/2008       1.       $180.00   Prep updated extract of all Employee claims with
                                                                                 selected fields (.7); export to Excel (.4); forward to J
                                                                                 Miller (.1)
GUNTHER KRUSE - CONSULT_DATA       $lS0.00    7/15/2008      0.2        $30.00 Conference call with J Miller re prep of employee
                                                                                 claims images and extract.
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/15/2008      0.7       $105.00   Create Access database of combined employee source
                                                                                 data (.6); forward to J Miller (.1)
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/15/2008      1.9       $180.50   Review, verify and format various documents in
                                                                                 regards to ZAI claimant's (1.0); prepare combined
                                                                                 table of lists (.9)
JACQUELINE CONKLIN - SR_ANALYST     $95.00    711512008      2.6       $247.00   Review (1.4) and verify (1.2) ZAI Combined table
                                                                                 address records for incomplete and duplicates.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/15/2008      0.6        $57.00   Prepare (.5) and forward (.1) excel report of ZAI final
                                                                                 address list to M Araki for further review.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/15/2008      0.1         $9.50   Update returned mail records to b-Linx.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/15/2008      0.4        $38.00 Various telephone (.2) and email (.2) correspondence
                                                                                 regarding the review and verification of ZAI
                                                                                 documents.
SONJA MILLSAP - CONSULT_DATA        $9S.00    7/1512008      2.5       $237.50   Review (.8), convert (.8) and upload (.9) various
                                                                                 documents in regards to ZAI claimant's per M Araki
                                                                                 request.
SONJA MILLSAP - CONSULT_DATA        $95.00    7/15/2008      1.6       $152.00   Review (.8) and analyze (.8) data for missing zip
                                                                                 codes.
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/16/2008      0.7       $105.00   Generate extract of Active and InActive claims per S
                                                                                 Cohen request (.3); export to Excel (.3); forward for
                                                                                 review (.1)
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/1612008      0.2        $19.00   Review and prepare sample services list for the ZA
                                                                                 Bar Date Notice mailing (.1); forward to M Araki for
                                                                                 further review (.1)
JACQUELINE CONKLIN - SR_ANALYST     $9S.00    7/16/2008      0.3        $28.50   Various correspondence with production and project
                                                                                 team regarding scheduled mailing(s).
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/16/2008      0.4        $38.00   Review (.2) and verification (.2) of service information
                                                                                 for completed mail fies.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/1612008      0.6        $S7.00   Review (.3) and verify (.3) active scheduled and filed
                                                                                 claims' records per claims reconcilation request.



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Name                 Type             Rate       Date      Hours       Amount Description
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/16/2008       1.5      $142.50   Review (.8) and verify (.7) affected parties in
                                                                                 preparation of ZAI Bar Date Notice mailng.
REYNANTE DELA CRUZ - CAS            $95.00    7/16/2008       1.0       $95.00   Populate MailFiles 29575 and 29576 with APs for ZAI
                                                                                 Bar Date Notice Mailings
REYNANTE DELA CRUZ - CAS            $95.00    7/16/2008       0.1        $9.50   Review and update AP addresses in preparation for
                                                                                 MailFile Population
SONJA MILLSAP - CONSULT_DATA        $95.00    7116/2008       1.       $123.50   Update zip codes which do not match the range of zip
                                                                                 codes for the queried state.
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/17/2008       1.2      $180.00   Create updated employee claims extract adding
                                                                                 claimant address info.
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/1712008      0.7        $66.50   Populate mail file 29590 with additional attorneys for
                                                                                 the ZAI Bar Date notice mailng.
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    711712008      0.2        $19.00   Review (.1) and verify (.1) service information for
                                                                                 completed mail files.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/17/2008      0.3        $28.50   Various correspondence with production and project
                                                                                 team regarding scheduled mailing(s).
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7117/2008      0.1         $9.50   Correspondence with claims reconciliation regarding
                                                                                 bankruptcy modified records recently received from
                                                                                 Rust Consulting.

REYNANTE DELA CRUZ - CAS            $95.00    7/17/2008      0.7        $66.50   Review (.3) and update (.4) addresses in preparation
                                                                                 for mail file population
REYNANTE DELA CRUZ - CAS            $95.00    7/17/2008       1.      $123.50    Re-Populate MailFiles 29575 and 29576 with updated
                                                                                 APs for ZAI Bar Date Notice Mailings

JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/18/2008      0.1         $9.50   Update mail file data to master service list.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7118/2008      0.1         $9.50 Correspondence with claims reconciliation regarding
                                                                               verification of claims.
SONJA MILLSAP - CONSULT_DATA        $95.00    7/18/2008      1.0       $95.00    Review missing zip codes results in creditor claims
                                                                                 management tool.
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/2112008      1.5      $225.00    Make programatic updates to selected claims (.9);
                                                                                 create estimated amounts (.5); forward to S Cohen
                                                                                 for review (.1).
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/21/2008      0.7       $66.50    Review (.3) and prepare (.4) report regarding
                                                                                 reconciled general unsecured claims per claims
                                                                                 reconciliation request.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/21/2008      0.2       $19.00    Correspondence with claims reconciliation regarding
                                                                                 fied and scheduled claims review.

GUNTHER KRUSE - CONSULT_DATA       $150.00    7/22/2008      1.       $165.00    Mass update of selected claims reconciliation notes
                                                                                 per S Cohen (.5); rearrange notes so they list in
                                                                                 chronological order (.6)
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/23/2008      1.2      $180.00    Prep (.4) and copy (.4) selected claim images for
                                                                                 counsel review; move to network folder (.3); prepare
                                                                                 email to notify J Miler (.1)
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/2312008      0.1        $9.50    Reformat bankruptcy claims modified record data fies
                                                                                 in preparation to migration to b-Linx.

JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/23/2008      0.1        $9.50    Upload bankruptcy claim to b-Linx.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/23/2008      0.1        $9.50    Migration bankruptcy claim data to b-Linx.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7123/2008      0.1        $9.50    Migrate bankruptcy claims image from CD to server.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/23/2008      0.1        $9.50    Extract, process, reformat bankruptcy data to migrate
                                                                                 data to b-Linx.




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Name                 Type             Rate       Date      Hours       Amount Description
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/23/2008      0.1         $9.50   Append bankruptcy claim data to tblOutput for
                                                                                 migration to b-Linx.
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/2312008      0.1         $9.50   Prepare and forward claims register for bankruptcy
                                                                                 claims upload to project team.
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/2412008      0.3        $45.00 Conf call with Rust Consulting to discuss transfer of
                                                                                 ZAI claim images and data.
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/24/2008      0.6        $90.00   Prep and copy selected claim images for counsel
                                                                                 review (.3); transfer to network folder (.2); notify S
                                                                                 Cohen (.1).
JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/24/2008      0.2        $19.00   Conference call in regards to the preparation for the
                                                                                 ZAI claims processing.

JACQUELINE CONKLIN - SR_ANALYST     $95.00    7/24/2008      0.1         $9.50   Update returned mail records to b-Linx.
SONJA MILLSAP - CONSULT_DATA        $95.00    7/24/2008      0.3        $28.50   Prepare snap shots of data exceptions.
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/2512008       1.       $195.00 Add SSN #'s to Employee claims extract from source
                                                                                 data from Rust Consulting (.6); export to Excel (.6);
                                                                                 forward to J Miller (.1)
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/2512008      0.1         $9.50   Correspondence with J Miller regarding social security
                                                                                 numbers for employee claimants.
JACQUELINE CONKLIN - SR_ANAL YST    $95.00    7/25/2008      0.2        $19.00   Review (.1) and verify (.1) Rust Consulting bankruptcy
                                                                                 claim files for tax ID information.
REYNANTE DELA CRUZ - CAS            $95.00    7/25/2008      0.1         $9.50   Returned Mail Audit and Review
GUNTHER KRUSE - CONSULT_DATA       $150.00    7128/2008      1.2       $180.00   Generate extract of active open Asbestos/Propert
                                                                                 Damage claims (.7); export to Excel (A); forward to S
                                                                                 Cohen (.1)
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/2812008      3.0       $450.00   Review of PI source data (.8); audit against data
                                                                                 dictionary (.8); prepare draft of ER Diagram i.e. to
                                                                                 show the relationship between tables and data points
                                                                                 (104).
GUNTHER KRUSE - CONSULT_DATA       $150.00    7128/2008      2.5      $375.00    Review PI source data and audit against data
                                                                                 dictionary (1.0); review schema and table structures
                                                                                 in preparation for Solicitation (1.5)
MIKE GRIMMET - SR_CONSULT_DATA     $175.00    7/28/2008      2.1      $367.50 Create report of Open Propert Damage Claims per S.
                                                                              Cohen.
ANNA WICK - SR_ANAL YST            $110.00    7/29/2008      0.2        $22.00 Conference call at request of J Miller
GUNTHER KRUSE - CONSULT_DATA       $150.00    7129/2008      0.7      $105.00    Create unsecured amount records for propert
                                                                                 damage claims and set to amount Unknown
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/29/2008      3.0      $450.00    Complete review/audit of PI source data (2.0); finalize
                                                                                 ER diagram for source data (1.0)
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/29/2008      1.0      $150.00 Author test queries to review source data detail (.5);
                                                                                 review claims, claimant counts and related claim detail
                                                                                 (.5)
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/29/2008      0.9      $135.00    Generate updated extract of propert damage claims
                                                                                 with address fields broken out (.8); forward to S
                                                                                 Cohen (.1)
GUNTHER KRUSE - CONSULT_DATA       $150.00    7/2912008      1.8      $270.00    Generate updated extract of propert damage claims
                                                                                 where address field is further broken out by address
                                                                                 line (.9); export to Excel (.8); forward to S Cohen (.1)
JACQUELNE CONKLIN - SR_ANALYST      $95.00    7/29/2008      0.1         $9.50   Update returned mail records to b-Linx.
SONJA MILLSAP - CONSULT_DATA        $95.00    7/29/2008      0.3       $28.50    Prepare report verifying amount, docketing creditor
                                                                                 information grouping, and reporting data anomalies to
                                                                                 J Miler, S Cohen and M Araki

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BMC Group
   WR GRACE
   Monthly Invoice
July 2008 -- Data Analysis
                                        Hourly                              Total
Name Type                                 Rate Date           Hours        Amount Description
ANNA WICK - SR_ANALYST                $110.00 7/30/2008          1.0      $110.00 SQL database maintenance - review logs (.3), update
                                                                                     tables fields (.3), views and user defined functions
                                                                                     (.4)(PI)
ANNA WICK - SR_ANALYST                $110.00 7/30/2008          1.0      $110.00 SQL database maintenance - review logs (.3), update
                                                                                     tables fields (.3), views and user defined functions (.4)
GUNTHER KRUSE - CONSULT_DATA          $150.00 7/30/2008         2.6       $390.00 Create new report template for PO claims which
                                                                                     incorporates selected fields requested by counsel (.8);
                                                                                     revise template to add additional notice parties for
                                                                                     each claim (.7); prepare extract (1.0); forward to S
                                                                                     Cohen (.1)
GUNTHER KRUSE - CONSULT_DATA          $150.00 7/30/2008          1.5      $225.00 Begin analysis and review of PI claimant and attorney
                                                                                   addresses (.7); verify data normalization and integrity
                                                                                   of source tables from Rust Consulting database (.8)
JACQUELINE CONKLIN - SR_ANALYST        $95.00 7/30/2008         0.1          $9.50 Update returned mail records to b-Linx.
GUNTHER KRUSE - CONSULT_DATA          $150.00 7/3112008         2.0       $300.00 Review all PI data tables with mailng addresses for
                                                                                     claimants or attorneys (.3); compare and match
                                                                                     against other tables for same address data (.9);
                                                                                     commence compilation of unique claimant and
                                                                                     address list (.8)
GUNTHER KRUSE - CONSULT_DATA          $150.00 7/31/2008         2.5       $375.00 Revise ER diagram of PI data per further review and
                                                                                     analysis of source data.
GUNTHER KRUSE - CONSULT_DATA          $150.00 7/31/2008         3.5       $525.00 Review all PI data tables with mailing addresses for
                                                                                     claimants or attorneys (.8); compare and match
                                                                                     against other tables for same address data (1.5);
                                                                                     continue compilation of unique claimant and address
                                                                                     list (1.2)
JACQUELINE CONKLIN - SR_ANALYST        $95.00    7/31/2008      0.1          $9.50   Update returned mail records to b-Linx.
JACQUELINE CONKLIN - SR_ANAL YST       $95.00    7/3112008      0.2        $19.00    Various correspondence with project team regarding
                                                                                     the review and update of claim records per Rust
                                                                                     Consulting change data files.

                                      Data Analysis Total:     75.1      $9,574.50
July 2008 -- Fee Applications
                                        Hourly                             Total
Name Type                                Rate       Date     Hours        Amount Description
MARTHA ARAKI - CONTRACTOR             $210.00    7130/2008      2.0       $420.00 Prepare draft biling detail report for Apr 08 (.3);
                                                                                  begin analysis of draft Apr 08 report for prof billng
                                                                                     reqts and Court imposed categories (.7); begin
                                                                                     revision of Apr 08 biling entries for fee app
                                                                                     compliance (1.0)
MARTHA ARAKI - CONTRACTOR             $210.00 7/31/2008         2.0       $420.00 Continue analysis of draft Apr 08 report for prof
                                                                                     billing reqts and Court imposed categories (1.0);
                                                                                     continue revision of Apr 08 billing entries for fee app
                                                                                     compliance (1.0)
                                   Fee Applications Total:      4.0       $840.00
July 2008 -- Non-Asbestos Claims
                                        Hourly                             Total
Name Type                                Rate Date Hours                  Amount Description
MARTHA ARAKI - CONTRACTOR             $210.00 7/2/2008 0.7                $147.00 Analysis of L Bogue e-mail re LA Metro transfer of
                                                                                   claim, b-Linx and related docs (.4); prepare e-mail to
                                                                                   J Miller re LA Metro transfer of claim, stips needed to
                                                                                     resolve non-US claims affected by order 18847 (.3)


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BMC Group
   WR GRACE
    Monthly Invoice
July 2008 -- Non-Asbestos Claims
                                     Hourly                             Total
Name                  Type            Rate       Date      Hours       Amount Description
STEFFANIE COHEN - REC_ TEAM        $110.00     717/008        0.2       $22.00   Review (.1) and reply (.1) to emails and
                                                                                 correspondence re claims review/reconciliation
STEFFANIE COHEN - REC_ TEAM        $110.00     7/7/2008       0.2       $22.00   Research Fireman's Fund & Wachovia claims per
                                                                                 J.MillerfJ.Baer: prepare claim images and reports
                                                                                 (.1); draft follow-up memo to J.Baer (.1)
STEFFANIE COHEN - REC TEAM         $110.00     7/7/2008       0.4       $44.00   Analyze and update claims per c.Greco, L.Sinanyan
                                                                                 requests (.3); draft follow-up memos to c.Greco,
                                                                                 J.Miller re updates and additional analysis, updates
                                                                                 required (.1)
LAURI BOGUE - REC_TEAM             $110.00     7/8/2008       0.6       $66.00 Analyze Court docket no 19007 (.3); perform transfer
                                                                                 of claim 17592 pursuant to previous Notice of
                                                                                 Transfer per request from S Cohen (.3)
STEFFANIE COHEN - REC_TEAM         $110.00     7/8/2008       0.4       $44.00   Update claims database per L.Sinanyan 7/7/08
                                                                                 request (.3); draft follow-up memos to A.Wick,
                                                                                 L.Bogue re additional updates required (.1)
STEFFANIE COHEN - REC_ TEAM        $110.00     7/8/2008       0.1       $11.00   Finalize updates to claim database per L.Sinanyan
                                                                                 7/7/08 request; draft follow-up memo to L.Sinanyan
                                                                                 re analysis and updates
LAURI BOGUE - REC_TEAM             $110.00     7/9/2008       0.1       $11.00   Revise transfer tracking worksheet re three claims
                                                                                 updated
LAURI BOGUE - RECTEAM              $110.00     7/9/2008       0.1       $11.00   Revise b-Linx to finalize three claim transfers and
                                                                                 reconciliation notes
LAURI BOGUE - REC_ TEAM            $110.00     7/9/2008       0.1       $11.00 Analysis of Court docket re objections to transfers
                                                                                 after 20 day notice expiration
STEFFANIE COHEN - REC TEAM         $110.00     7/9/2008       1.       $132.00   Initialize analysis of open claims per c.Greco request
                                                                                 (.6); discussions with c.Greco re additional analysis,
                                                                                 claim updates required and timeline (.2); initialize
                                                                                 preparation of claim/objection data report (.4)

LAURI BOGUE - REC_ TEAM            $110.00    7/10/2008      0.3        $33.00   Investigate returned mail item related to Transfer
                                                                                 Notice
STEFFANIE COHEN - REC TEAM         $110.00    7/10/2008      0.2        $22.00   Research Masonite claim, possible docket entries re
                                                                                 same per J.MilerfJ.Baer (.1); draft follow-up memos
                                                                                 to J.Baer (.1)
STEFFANIE COHEN - REC_ TEAM        $110.00    7/10/2008      0.3        $33.00   Continue preparation of unresolved claims report per
                                                                                 discussion with c.Greco (.2); draft follow-up memos
                                                                                 to M.Grimmett re reporting requirements (.1)
STEFFANIE COHEN - REC_ TEAM        $110.00    7/10/2008      0.1       $11.00    Update MI Dept of Treasury claims per L.Sinanyan
                                                                                 request; draft follow-up memo to L.Sinanyan
STEFFANIE COHEN - REC TEAM         $110.00    7/11/2008      1.       $121.00    Finalize analysis and preparation of unresolved claim
                                                                                 report (.5); research related claim data (.4); draft
                                                                                 follow-up memo to c.Greco re report and scheduled
                                                                                 conference call (.2)
LAURI BOGUE - REC_TEAM             $110.00    7/14/2008      0.2       $22.00    Analysis of Court docket re objections to transfers
                                                                                 after 20 day notice expiration
LAURI BOGUE - REC_ TEAM            $110.00    7114/2008      0.2       $22.00    Revise b-Linx to finalize eight claim transfers and
                                                                                 reconcilation notes
LAURI BOGUE - REC_TEAM             $110.00    7/1412008      0.1       $11.00    Revise transfer tracking worksheet re eight claims
                                                                                 updated
STEFFANIE COHEN - REC TEAM         $110.00    7114/2008      0.1       $11.00    Discussion with c.Greco re State of CA Board of
                                                                                 Equalization claims, ongoing analysis of unresolved
                                                                                 claims
STEFFANIE COHEN - RECTEAM          $110.00    7/14/2008      0.6       $66.00 Analyze docket numbers 19007 to 19075 (.2); audit
                                                                              related claim updates (.3); update claims database (.1)

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BMC Group
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    Monthly Invoice
July 2008 -- Non-Asbestos Claims
                                     Hourly                             Total
Name                  Type            Rate       Date      Hours       Amount Description
STEFFANIE COHEN - REC TEAM         $110.00    7/14/2008       0.2       $22.00   Discussion with A.Hammon/WR Grace re client
                                                                                 request for list of supplemented non-asbestos claims
                                                                                 (.1); discussion with G.Kruse re reporting
                                                                                 requirements and draft follow-up memos to J.Miller,
                                                                                 M.Grimmett, G.Kruse (.1)
LAURI BOGUE - REC TEAM             $110.00    7/15/2008       0.2       $22.00   Analyze Court docket nos 17666, 17676 and 17688 to
                                                                                 verify no updates to the claims database are required
LAURI BOGUE - RECTEAM              $110.00    7/15/2008       0.1       $11.00 Audit results of analysis of Court docket nos 18042
                                                                               and 17344 to verify no updates to the claims database
                                                                                 are required

STEFFANIE COHEN - REC TEAM         $110.00    7/15/2008       0.2       $22.00   Finalize analysis of active open schedules with
                                                                                 possible transfer issues per J.Miller/J.Baer request
                                                                                 (.1); draft follow-up memo to J.Miller re analysis
                                                                                 results (.1)

STEFFANIE COHEN - REC TEAM         $110.00    7/15/2008       0.4       $44.00   Initialize analysis of active open schedules with
                                                                                 possible transfer issues per J.MilerlJ.Baer request
                                                                                 (.3); draft follow-up memos to M.Grimmett, G.Kruse
                                                                                 re reporting requirements (.1)
JEFF MILLER - INACTIVE_BMC         $210.00    7/16/2008      0.5       $105.00   Conference call wI c. Greco and C. Bruens regarding
                                                                                 claim status
JEFF MILLER - INACTIVE_BMC         $210.00    7/16/2008       1.2      $252.00   Coordinate (.5) and review (.7) claim report report
                                                                                 requests from C. Greco

STEFFANIE COHEN - REC TEAM         $110.00    7/16/2008       1.7      $187.00   Prepare (.5), analyze (.5) and revise (.7) active open
                                                                                 and reconciled tax and environmental claim reports
                                                                                 per c.Greco request
STEFFANIE COHEN - REC_ TEAM        $110.00    7/16/2008       1.8      $198.00   Prepare (.6), analyze (.7) and revise (.5) active open
                                                                                 and reconciled admin and secured claim report per
                                                                                 C. Greco request
STEFFANIE COHEN - REC TEAM         $110.00    7/16/2008      1.6      $176.00    Continue to prepare (.4), analyze (.5) and revise (.5)
                                                                                 active open and reconciled priority claim report per
                                                                                 c.Greco request; draft follow-up memo to c.Greco re
                                                                                 reports/findings (.2)
STEFFANIE COHEN - REC_TEAM         $110.00    7/16/2008      0.2        $22.00   Discussion with c.Greco re request for active claim
                                                                                 reports (.1); draft follow-up memo to G.Kruse re
                                                                                 reporting requirements (.1)
JEFF MILLER - INACTVE_BMC          $210.00    7/17/2008      3.8      $798.00 Coordinate delivery of EmployeelFormer Employee
                                                                                 claim export and images per R. Evans request

JEFF MILLER - INACTVE_BMC          $210.00    7/17/2008      2.5      $525.00 Coordinate creation of additional claim report per C.
                                                                                 Greco requests
LAURI BOGUE - REC TEAM             $110.00    7/18/2008      0.1       $11.00    Revise transfer tracking worksheet re one claim
                                                                                 updated
LAURI BOGUE - REC_TEAM             $110.00    7/1812008      0.1       $11.00    Revise b-Linx to finalize one claim transfer and
                                                                                 reconciliation notes
LAURI BOGUE - REC_ TEAM            $110.00    7118/2008      0.1       $11.00 Analysis of Court docket re objections to transfers
                                                                                 after 20 day notice expiration
LAURI BOGUE - REC_ TEAM            $110.00    7/18/2008      0.4       $44.00 Analyze Court docket no 19097 (.3); prepare e-mail
                                                                                 request to 5 Krochek of Argo Partners to request an
                                                                                 amended Notice of Transfer to correct deficiencies (.1)
STEFFANIE COHEN - REC TEAM         $110.00    7/18/2008      1.9      $209.00    Prepare (.5), analyze (.6) and revise (.7) active open
                                                                                 and reconciled unsecured claim report per c.Greco
                                                                                 request; draft follow-up memo to c.Greco re
                                                                                 reports/findings (.1)



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BMC Group
   WR GRACE
   Monthly Invoice
July 2008 -- Non-Asbestos Claims
                                     Hourly                             Total
Name                 Type             Rate       Date     Hours        Amount Description
MARTHA ARAKI - CONTRACTOR          $210.00    7/21/2008      0.7       $147.00   Analysis of e-mail from 5 Cohen re claim 17760
                                                                                 update from Rust (.2); analysis of b-Linx re claim
                                                                                 17760 (.3); prepare e-mail to 5 Cohen re claim 17760
                                                                                 b-Linx review (.2)
STEFFANIE COHEN - REC TEAM         $110.00    7/21/2008      0.4        $44.00   Generate environmental claim report per L.Gardner
                                                                                 request (.3); draft follow-up memo to L.Gardner (.1)
STEFFANIE COHEN - REC TEAM         $110.00    712112008      1.        $187.00   Generate additional active claims report per J.Miller
                                                                                 request (.5); analyze related claim data (.9);
                                                                                 discussion with J.Miller re additional analysis required
                                                                                 (.2); draft follow-up memo to c.Greco, J.Miler re
                                                                                 analysis results (.1)
STEFFANIE COHEN - REC TEAM         $110.00    7/21/2008      2.4       $264.00   Discussion with J.Miler re active reconciled unsecured
                                                                                 claim reports and c.Greco request (.3); draft follow-up
                                                                                 memo to J.Conklin re report required (.2); analyze
                                                                                 report, claim data (1.7); draft follow-up memos to
                                                                                 lMiller, J.Conklin, G.Kruse re additional analysis &
                                                                                 claim updates required (.2)
JEFF MILLER - INACTIVE_BMC         $210.00    7/2212008      2.2       $462.00   Perform audit of 6/30 and 7/18 claim report to
                                                                                 resolve discrepancy totals (1.5); discuss research and
                                                                                 findings wI S. Cohen (.7)
LAURI BOGUE - REC_TEAM             $110.00    7/22/2008      0.4        $44.00   Investigate status of Dover Equipment scheduled
                                                                                 liabilty report findings per request from 5 Krochek of
                                                                                 Argo Partners
LAURI BOGUE - REC_ TEAM            $110.00    712212008      0.3        $33.00   Prepare new Transfer Notice related to Court docket
                                                                                 no 18955 to the Transferor due to defective address
STEFFANIE COHEN - REC TEAM         $110.00    7/22/2008      1.6      $176.00    Prepare (.4), analyze (.5) and revise (.5) summary
                                                                                 report for active reconciled unsecured claims per
                                                                                 c.Greco request; draft follow-up memos to c.Greco,
                                                                                 J.Miler (.2)
JEFF MILLER - INACTIVE_BMC         $210.00    7/2312008      1.6      $336.00    Prepare additional claim report and provide specific
                                                                                 claim images per C. Greco request
JEFF MILLER - INACTVE_BMC          $210.00    712312008      1.       $231.00 Address L. Gardener environmental claim questions
                                                                                 and related report
JEFF MILLER - INACTVE_BMC          $210.00    7/23/2008      1.       $273.00    Follow-up email and call w/ c. Greco (.5) and S.
                                                                                 Cohen (.8) regarding discrepant report and results of
                                                                                 review
STEFFANIE COHEN - REC_ TEAM        $110.00    7/23/2008      0.4       $44.00    Discussion with J.Miller re report requested by
                                                                                 c.Greco and underlying claim data (.2); draft follow-
                                                                                 up memo to c.Greco re pending issues related to
                                                                                 active open claims (.2)
STEFFANIE COHEN - REC TEAM         $110.00    7/23/2008      1.       $121.00    Prepare (.3), analyze (.3) and revise (.3) active open
                                                                                 unsecured claim report per J.Miller request;
                                                                                 discussion with J.Miller re reporting requirements (.1);
                                                                                 draft follow-up memos to c.Greco, J.Miller (.1)
JEFF MILLER - INACTVE_BMC          $210.00    7124/2008      2.4      $504.00    Finalize updated claim report requested by C. Greco
                                                                                 (1.8); discuss report parameters wI S. Cohen (.6)
JEFF MILLER - INACTVE_BMC          $210.00    7/24/2008      0.6      $ 126.00   Call w/ L. Gardner to discuss latest set of
                                                                                 environmental claim report

STEFFANIE COHEN - REC-TEAM         $110.00    7/2412008      0.4       $44.00    Analyze claims to verify accurate docketing
                                                                                 information, including classification, CUD status, claim
                                                                                 amounts (.1); update claims database (.1); research
                                                                                 Mass Dept of Rev claims (.1); draft follow-up memos
                                                                                 to J.Miller, M.Araki re additional analysis & possible
                                                                                 claim updates required (.1)


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BMC Group
   WR GRACE
    Monthly Invoice
July 2008 -- Non-Asbestos Claims
                                     Hourly                             Total
Name Type                             Rate Date            Hours       Amount Description
STEFFANIE COHEN - REC_ TEAM        $110.00 7/24/2008          0.1       $11.00 Discussion with c.Greco, C.Bruens re request for
                                                                                 additional claim images; draft follow-up memo to
                                                                                 J.Miller re request
STEFFANIE COHEN - REC TEAM         $110.00 712412008          1.8      $198.00 Prepare claim images, not debtor allowed claim
                                                                                 reports per c.Greco/J.Miller request (1.3); discussions
                                                                                 with c.Greco, J.Miller G.Kruse re reporting
                                                                                 requirements (.3); draft follow-up memos to c.Greco,
                                                                                 lMiler re reports and analysis results (.2)
STEFFANIE COHEN - RECTEAM          $110.00 7/24/2008          0.4       $44.00 Analyze environmental claim data per L.Gardner
                                                                                 request and discussion with J.Miler (.1); draft follow-
                                                                                 up memo to J.Miller re additional analysis required
                                                                                 (.1); generate active open environmental claim
                                                                                 reports (.1); additional discussion with J.Miller re
                                                                                 possible claim updates required (.1)
JEFF MILLER - INACTIVE_BMC         $210.00 7/25/2008          1.4     $294.00 Review email from C. Bruens re: claim updates (.9);
                                                                                 discuss updates via emaillphone w/ S. Cohen (.5)
JEFF MILLER - INACTIVE_BMC         $210.00 7/25/2008         2.2      $462.00 Review employee source data for SS# connection to
                                                                               filed claims per R. Evans inquiry.
MARTHA ARAKI - CONTRACTOR          $210.00 7/25/2008         0.5      $105.00 Analysis of e-mail from S Cohen re C Bruens revisions
                                                                                 to claims (.1); telephone with S Cohen re C Bruens
                                                                                 revisions (.4)
STEFFANIE COHEN - REC_TEAM         $110.00 7/25/2008          1.      $121.00 Discussion with M.Araki re claim updates requested by
                                                                               C.Bruens (.2); analyze claim data and update claims
                                                                               database per request (.7); draft follow-up memos to
                                                                               C.Bruens, c.Greco, J.Miller, M.Araki re analysis and
                                                                               updates (.2)
STEFFANIE COHEN - REC TEAM         $110.00    7/25/2008      0.2        $22.00   Research and analyze claim data per C.Bruens request
                                                                                 (.1); draft follow-up memo to C.Bruens re analysis
                                                                                 results (.1)

JEFF MILLER - INACTVE_BMC          $210.00    7/28/2008      2.3      $483.00    Audit claims report prepared by S. Cohen per C.
                                                                                 Greco request
JEFF MILLER - INACTVE_BMC          $210.00    7/28/2008      0.7      $147.00    Review State of MA tax claim issue per S. Cohen
                                                                                 request
MARTHA ARAKI - CONTRACTOR          $210.00    7/28/2008      0.3       $63.00 Analysis of e-mail from S Cohen re Mass Dept of
                                                                              Revenue claim and prior claims filed for claim type
                                                                              (.2); prepare e-mail to S Cohen re same (.1)
STEFFAN   IE COHEN - REC_ TEAM     $110.00    7/28/2008      0.1       $11.00    Research docket 8447/c1aim 12849 data per
                                                                                 L.Gardner request; draft follow-up memo to L.Gardner
                                                                                 re analysis
STEFFANIE COHEN - REC TEAM         $110.00    7/28/2008      0.2       $22.00    Discussion with c.Greco re active open and active
                                                                                 reconciled unsecured claims & scheduled conference
                                                                                 call re resolution of claims
MARTHA ARAKI - CONTRACTOR          $210.00    7/29/2008      0.6      $126.00 Analysis of e-mail from D Bibbs re claims info request
                                                                                 from J Monahan for Mortensen and Thruman claims
                                                                                 (.1); analysis of b-Linx re Mortensen and Thruman
                                                                                 claims (.4); prepare e-mail to D Bibbs re no match for
                                                                                 Mortensen or Thruman fiing claims (.1)
MIKE BOOTH - MANAGER               $165.00 7/30/2008         1.6      $264.00 Analysis and update of b-Linx re claims transfer
                                                                                 related to docket nos 19176, 19177, 19178 and
                                                                                 19179 (.6); prepare 20 day notices (.9); and forward
                                                                                 to Notice Group for service (.1)




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BMC Group
   WR GRACE
    Monthly Invoice
July 2008 -- Non-Asbestos Claims
                                            Hourly                               Total
Name Type                                    Rate Date            Hours         Amount Description
STEFFANIE COHEN - REC TEAM                $110.00 7/31/2008          1.7       $187.00 Initialize analysis and preparation of claim/objection
                                                                                          data for upload by data consultant (1.3); discussion
                                                                                          with c.Greco re same (.2); draft follow-up memos to
                                                                                          c.Greco, J.Miler, G.Kruse re additional analysis &
                                                                                          claim updates required (.2)

                                  Non-Asbestos Claims Total:        58.1      $9)39.00
July 2008 -- WRG Plan & Disclosure Statement
                                           Hourly
Name Type Rate Date Hours                                                        Total
                                                                               Amount Description
STEPHENIE KJONTVEDT - SR_CONSULTANT $140.00 7/22/2008 0.1                       $14.00 Review email from J Miller re filing date for Disclosure
                                                                                          Statement
JEFF MILLER - INACTVE_BMC                $210.00 7/23/2008           1.        $252.00 Review updated solicitation timeline prepared by S.
                                                                                        Kjonvedt to determine resources needed given time
                                                                                        allocated
STEPHENIE KJONTVEDT - SR_CONSULTANT      $140.00     7/23/2008       0.6        $84.00    Revise estimated solicitation timeline (.5); forward
                                                                                          same to J Miler (.1)
KEVIN MARTIN - CONSULTANT                $135.00     7/31/2008       0.8       $108.00    Prepare Personal Injury Asbestos ballot sample per
                                                                                          request of counsel

KEVIN MARTIN - CONSULTANT                $135.00     7/31/2008       1.        $148.50    Review of Equity Ballot forms (.5); provide samples
                                                                                          per request (.6)
KEVIN MARTIN - CONSULTANT                $135.00     7/31/2008       0.3        $40.50    Prepare email communication to counsel describing
                                                                                          Equity Beneficial and Master ballots and Asbestos PI
                                                                                          Ballot

                      WRG Plan & Disclosure Statement Total:        4.1        $647.00
                                             July 2008 Total:     219.2      $32,283.50




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BMC Group
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                              Grand Total:    219.2 $32,283.50




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                                                    BMC Group
                                                       WR GRACE
                                              Professional Activity Summary
                                          Date Range: 7/1/2008 thru 713112008
                                                                   Hourly                   Total
             Category I Type I Name                                   Rate    Hours          Ämt.
             Asbestos Claims
                   SR_CONSULTANT
                        Stephenie Kjontvedt                       $140.00        1.2     $168.00
                   REC_TEAM
                        Steffanie Cohen                           $110.00        1.9     $209.00
                   INACTIVE_BMC
                        Jeff Miller                             $210.00          2.5     $525.00
                   CONTRACTOR
                        Martha Araki                            $210.00         10.0   $2,100.00
                                                                    Total:      15.6   $3,002.00

             Case Administration
                  CAS
                        Lucina Solis                               $45.00        0.3      $13.50
                  CAS
                        Alex Cedeno                               $45.00         0.8     $36.00
                        Brianna Tate                              $45.00         2.7    $121.50
                        Corazon Del Pilar                         $45.00         0.4     $18.00
                        James Myers                               $65.00         1.9    $123.50
                        Katya Belas                               $65.00         1.3     $84.50
                        Lemuel Jumilla                            $95.00         0.6     $57.00
                        Liliana Anzaldo                           $45.00         0.2      $9.00
                        Maristar Go                               $95.00         0.8     $76.00
                        Noreve Roa                                $95.00         5.7    $541.50
                        Yvette Knopp                              $90.00         1.9    $171.00
                  VDR
                        Patrick Cleland                           $65.00        0.5       $32.50
                  MANAGER
                        Mike Booth                              $165.00         1.3     $214.50
                        Myrtle John                             $195.00         0.2      $39.00
                        Terri Marshall                          $185.00         0.4      $74.00
                  SR_CONSUL TANT
                        Stephenie Kjontvedt                     $140.00         2.3     $322.00
                  CONSULT_DATA
                        Gunther Kruse                           $150.00          1.2    $180.00
                  SR_ANAL YST
                        Anna Wick                               $110.00         0.5      $55.00
                  REC TEAM
                        Ellen Dors                              $110.00         1.0     $110.00
                        Lauri Bogue                             $110.00         0.6      $66.00
                        Leila Hughes                             $75.00         6.3     $47250
                        Steffanie Cohen                         $110.00         3.3     $363.00
                  INACTIVE_BMC
                        Jeff Miller                             $210.00        11.5    $2,415.00
                  CONTRACTOR
                        Martha Araki                            $210.00        16.6    $3,486.00
                                                                    Total:     62.3    $9,081.00




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                                                      BMC Group
                                                         WR GRACE
                                                Professional Activity Summary
                                            Date Range: 7/112008 thru 7/3112008
                                                                      Hourly                      Total
              Category I Type I Name                                       Rate    Hours           Amt.
              Data Analysis
                    CAS
                          Reynante Dela Cruz                         $95.00           3.2      $304.00
                   SR_CONSULT_DATA
                          Mike Grimmett                             $175.00           2.1      $367.50
                   CONSUL T_DATA
                          Gunther Kruse                             $150.00          40.6     $6,090.00
                          Sonja Millsap                              $95.00          10.4      $988.00
                   SR_ANAL YST
                          Anna Wick                                 $110.00           2.6      $286.00
                          Jacqueline Conklin                         $95.00          16.2    $1,539.00
                                                                      Total:         75.1    $9,574.50

              Fee Applications
                   CONTRACTOR
                          Martha Araki                              $210.00           4.0      $840.00
                                                                      Total:          4.0      $840.00

              Non-Asbestos Claims
                   MANAGER
                          Mike Booth                                $165.00           1.6      $264.00
                   REC_ TEAM
                          Lauri Bogue                               $110.00          3.4       $374.00
                          Steffanie Cohen                           $110.00         26.5     $2,915.00
                   INACTIVE_BMC
                          Jeff Miler                               $210.00          23.8     $4,998.00
                   CONTRACTOR
                          Martha Araki                             $210.00            2.8      $588.00
                                                                      Total:        58.1     $9,139.00

              WRG Plan & Disclosure Statement
                   SR_CONSUL TANT
                          Stephenie Kjontvedt                      $140.00           0.7        $98.00
                   CONSULTANT
                          Kevin Martin                             $135.00           2.2       $297.00
                   INACTIVE_BMC
                        Jeff Miller                                $210.00            1.2      $252.00
                                                                      Total:         4.1       $647.00

                                                            Grand Total:           219.2    $32,283.50




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